

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-37,830-05






THEODORE GATES, JR., Relator



v.



HARRIS COUNTY DISTRICT CLERK, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS


FROM THE 180th DISTRICT COURT OF HARRIS COUNTY






	Per curiam.



O R D E R



	This is an original application for a writ of mandamus.

	Relator contends that he filed an application for writ of habeas corpus in the 180th
Judicial District Court of HarrisCounty, but that the application has not been forwarded to
the Court of Criminal Appeals even though more than thirty-five days have elapsed. 
Relator's contentions present a colorable claim to have prompt resolution of any grounds
raised in such an application.

	It is this Court's opinion that additional information is required before a decision can
be reached.  Therefore, the respondent, District Clerk of HarrisCounty, is ordered to file with
this Court within thirty days a response by submitting the record on such application or a
copy of an order designating issues to be investigated, see McCree v. Hampton, 824 S.W.2d
578 (Tex. Crim. App. 1992), or by stating the nature of any applications filed by Relator such
that they are not filed pursuant to Tex. Code Crim. Proc. art. 11.07, § 3, or that no
applications by Relator have been filed.

	IT IS SO ORDERED this the 12th day of	April, 2006.

DO NOT PUBLISH

	

	


